
PER CURIAM.
Judy Ewing Turner has filed a petition for writ of prohibition seeking review of an order denying a motion for recusal. The circuit court judge denied the motion as legally insufficient, and we agree. The *381motion to recuse was not supported by separate affidavits. The few facts sworn to by Turner in the motion were concluso-ry in nature and failed as a matter of law to establish a well-founded fear that she would not receive a fair trial. See Fischer v. Knuck, 497 So.2d 240 (Fla.1986). Therefore, we deny the petition for writ of prohibition.
Petition denied.
PATTERSON, C.J., and ALTENBERND and NORTHCUTT, JJ., concur.
